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                                   1                                  UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   4     EPIC GAMES, INC.,                                   Case No. 4:20-cv-05640-YGR
                                   5                    Plaintiff,                           ORDER PERMITTING LIMITED REPLY
                                                                                             BRIEF FROM PLAINTIFF EPIC GAMES, INC.
                                   6              vs.

                                   7     APPLE INC.,
                                                                                             Re: Dkt. Nos. 17, 36, 37
                                   8                    Defendant.

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                                  10          The Court is in the process of reviewing the parties’ briefing with respect to plaintiff Epic

                                  11   Games, Inc’s (“Epic”) motion for a temporary restraining order against defendant Apple Inc.

                                  12   (“Apple”). (Dkt. No. 17, 36, 37.)1 However, time is of the essence. Based on the Court’s initial
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                                  13   review of the arguments and representations therein, the Court PERMITS Epic a limited reply brief

                                  14   to address the issues and arguments raised in Apple’s opposition only as it relates to the Unreal

                                  15   Engine, and the revocation of Epic’s developer tools.

                                  16          Moreover, at the August 20, 2020 scheduling conference, the parties noted that there were

                                  17   two separate agreements with respect to the two applications at issue: one for the video game

                                  18   Fortnite, and another for the Unreal Engine. Epic’s counsel further stated at the conference that

                                  19   the Unreal Engine was managed by a separate Switzerland-based entity. Based on a limited

                                  20   review of the record, the Court notes that these two agreements do not appear to be included in the

                                  21   parties’ briefing. The Court ORDERS Epic to either file these agreements along with its reply for

                                  22   the Court’s review, or, if in the record already, to identify the relevant agreements in its reply.

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                                                  The Court notes that Apple did not comply with the Court’s briefing schedule, requiring
                                  25   that an opposition to the motion for a temporary restraining order be filed on or before 12:00 p.m.
                                       PDT on Friday August 21, 2020. (See Dkt. No. 29 (minutes).) Instead, Apple filed its opposition
                                  26   at 12:21 p.m., with exhibits and declarations filed at 12:32 p.m. Based on correspondence with the
                                       parties, the Court understands that Apple’s delay may have been due to technical difficulties.
                                  27   Nonetheless, the Court admonishes Apple and its counsel to comply with future Court deadlines or
                                       risk receiving sanctions from the Court in the future for their non-compliance. These deadlines are
                                  28   especially important involving, as here, time sensitive matters.
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                                   1          Such a reply brief shall be filed on or before 9:00 a.m. PDT on Sunday, August 23, 2020

                                   2   and shall be limited to ten (10) pages or less.

                                   3          IT IS SO ORDERED.

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                                   5   Dated: August 21, 2020
                                                                                              YVONNE GONZALEZ ROGERS
                                   6                                                         UNITED STATES DISTRICT JUDGE
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Northern District of California
 United States District Court




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